
Arcadia Acupuncture, P.C., as Assignee of Juan Beato, Carlos Berroa and Victor Martinez, Respondent,
againstGlobal Liberty Insurance Company of New York, Appellant. 




Law Office of Jason Tenenbaum, P.C. (Jason Tenenbaum of counsel), for appellant.
Petre and Zabokritsky, P.C., for respondent (no brief filed).

Appeal from an order of the Civil Court of the City of New York, Kings County (Rosemarie Montalbano, J.), entered June 22, 2018. The order denied defendant's motion to sever the first cause of action seeking to recover upon a claim for services rendered to Juan Beato from the remaining causes of action.




ORDERED that the order is reversed, with $30 costs, and defendant's motion to sever the first cause of action from the remaining causes of action is granted.
In this action by a provider to recover first-party no-fault benefits assigned to it by three assignors, defendant appeals from an order of the Civil Court which denied defendant's motion pursuant to CPLR 603 to sever the first cause of action seeking to recover upon a claim for services rendered to Juan Beato from the remaining causes of action.
The complaint alleges that the claims arose out of three separate accidents which occurred on three different dates. A review of the answer, denial of claim forms, and explanations of review pertaining to the claims at issue, reflects that facts relating to each claim are likely to raise few, if any, common issues of fact (see Radiology Resource Network, P.C. v Fireman's Fund Ins. Co., 12 AD3d 185 [2004]). As a result, defendant's motion to sever the first cause of action from the remaining causes of action should have been granted (see Maria Oca, M.D., P.C. v MVAIC, 35 Misc 3d 134[A], 2012 NY Slip Op 50758[U] [App Term, 2d Dept, 2d, 11th &amp; 13th Jud [*2]Dists 2012]).
Accordingly, the order is reversed and defendant's motion to sever the first cause of action from the remaining causes of action is granted.
PESCE, P.J., ALIOTTA and SIEGAL, JJ., concur.
ENTER:
Paul Kenny
Chief Clerk
Decision Date: October 18, 2019










